           Case 1:06-cv-01086-MHS Document 1 Filed 05/05/06 Page 1 of 12
                                                                                    'its IN aft'S
                                                                                      IFAD.C.-Aft rr1ia

                                                                                        MAY 5 - 2006             s
                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF GEORGIA                       LUTH W D. Ti~Ot;~AS, Lrerk
                                       ATLANTA DIVISION                                      4
                                                                                    ~ ~pul G~rk




                    Plaintiff

                        vs .           ~1                      --f
     c_.Jen1TG !   l-   ~~~ G TI'I G                                 .1
     G7~ C~aNfurrr ~ .~, ~ .Zn ~uS ~ i ~ L
                Defendant
                                                                                06 CV 1086

                                       TITLE VIE COMPLAIN T

1.        Plaintiff resides at                                 /'         Z ;vc, Af/€iL
                                                                          )A,   X
               3A36~9---
2.



Location of principal office(s) of the named defendant(s) rT -C




Nature of defendant(s) business             ~ /, V 1 e   e--


,Approximate number of individuals employed by defendant(s) _



       *Note : This is a form complaint provided by the Court for pro se lit igants who
wish to file an employment d i scriminat ion lawsuit. It i s not i ntended to be used for other
kinds of cases.
           Case 1:06-cv-01086-MHS Document 1 Filed 05/05/06 Page 2 of 12




3.     This action is brought pursuant to T itle VII of the C ivil R ights Act of 1964 for
       employment discrim ination . Jurisdiction is spec ifically conferred on the court by
       42 U.S. C_ § 2000e-5. Equitable and other rel ief are also brought under 42
       U .S.C . §e-5(g) .

       The acts complained of this suit concern :

      A.                    Failure to empfoy me .
      B.                     ermi n ation of my employment .
      C.                ~ Failure to promote me . '_
      D.               t~ Other (Speci fly)        (~3 e.7 u ~ i Q •LI d A)




5.     Plaintiff:

      A.                    presently employed by the defendant .
      B.                    not presently employed by the defendant . The dates of
                            plaintiffs employment were
                            The reasons plaintiff was given for termination of
                            employment is/are :
                            (1)                  plaintiff was discharged .
                            (2)                  plaintiff was la id off .
                            (3) plaintiff left t h e job voluntar ily .

1 6 . Defendant(s) conduct is discriminatory with respect to the following :

      A.            ~ my race
      B.                    my religion .
      C.                    my sex .
      D.                    my national origin
                                         origin .
      E.                    Other (specify)




                                             -2-
                Case 1:06-cv-01086-MHS Document 1 Filed 05/05/06 Page 3 of 12




 7. The name(s) , race, sex and the posit i on or title of the individual(s) who allegedly
     discrim inated against me duri ng the period of my employment with the defendant
     company is/are
                :


       d                                        ) ~   i f e-   Ma l-e .           4 m4
                                                                                    .+1                   /2- C 1-7,0 1%149 mss'

                   We S~,olv ,                                                                         ma Nit 6 .e 12-

                            Id 5 ,
       ~ A)                   ) d  1i ~ 1 f t kr a /-G                          um R A/ K -e S ou ,-e- e ^aNaj Grl .

        USG                                                            J
                                                                                 u .na~ 1~e ,5dc~~~'~ P nt<~r~~JPi2,

8. Describe the discriminatory actions or events you are complaining of in this
      lawsuit . Give factual detail, including names and dates concerning what
 n happened . You do not need to refer to any statutes or cite law .        /
                                                                   , - ( n
...            rc) ra~ e- ctr1    t--r'-4 czl rn .r~
                                                 .,~       oN -/-o`~ v    Oi

                                                                                                       ana e)e 2 . arad(ord

-Lye 2 l) (f,                                                                   n' r 4Q A" Ow, ~~C1Q ~ ~Ja G~i
                           .-1 la ) n 7~" 1 Y7 C Le Wed /'Q f' e d i s e . ,- i m
                    I rl e co

1G~ 1`C/'Qll'I~t ~ r/e-5~
-                              l4c.+,) Pr ' , 'o,6   C X455 r~i c:rc ~i 'o~/ I / Q~GSS}1~~n ~f                  illegal h iri • 1~
                                                              --                    --



                             T~j e Cvrn D/,4~~~" i?SD~~~'c                                C ~~t e n-c crw ~     Sa .~alra      ~e

~7    Cc l /Q   tac , la AG.   an d Xe 4a 44 /c            Q ~ a,' . 1,5 ~ MS. /<e " /-4 .          '/')N l - D~ .~JS< WPs

Cc A-,(S e a' <<Orae/-e                         to )-Is . {fie ; ~-h             e.      DN         Crr-eA t/'eS,&n WPal

                                                                                      op d,: { z,                                  fd r~
      i'Xe,   I A I- -U Na     I Corr1 ,Dla 46 ~y clgrPe~'r~a~ to                                   ,/ys• /'i ~r._ "I lod 1 i -~le

-~ ST'L ea dfr th a7' S he iJ o J 6 "R P/`~n!` .» . ~~ sinvre 7-2-2---6,2, 1,6 UJrS Aa^'c/a s'. ,1s

Or Ccc l{     Was do tV , v ~~ ., ~-k) 0 q Pq/"S               ~~t a   IL ;,5   1rl~C y ; 7~ u/Q~~a ~4 c A4Ao eel,         A. r-Ire e,4,e-
                    ll1 , aq f ee d      e o in C- r fa 5 e- A, Kr ,'I-A                SQ Ia~ fo                   M ero% a 4A~
 ," 7- 1-eGpIC , e (lild {'1 -e- e/i C . OUr4o~~'d _ .J"~~ •
7 '                                                                               1-o le / A ; m                       ~
                                                                                                       l ~ndu~ c1 l7ou ` %i1   I frIla. (


                                                        -3-
              Case 1:06-cv-01086-MHS Document 1 Filed 05/05/06 Page 4 of 12



:215                              rcs~             I<e ,                           eyWdulr~ to L) ~ d!=114.r-        . 'ni nof
       5 f1e17'~ ~~~ '~" J~k . ~7n~ .~G $' eV e.r~/ C~a .tIS ~ra~n q --yD4
                                                                                                               ~.


f ~e- prc en, sPd Sal
                   ---aY                                   . . .c           silk           W 1_l7 1 obs   c'-dill                -G 4yl


       n ct    Ct I~ ~ /1 4 /' eyz a . ~ s L u ~ ~' t i


  v                L1   5-    5 Il e .   A a N.~ /"r s, WP S~oN               {'1a~ Q 1(J~r1n+ e. ~~~~~rrra .vr~ lLc .li ~~Par~Frro~ e .
                                                                                -

                             vi/-de- O .v
       S,   Wt 5 1 aiv                        ~-he-   fr. dr        e :.a   'fn , q~ ~1 C~r1~2     aid /1 ,e ~c~r1D~ ¢v   1an/r M f A G
:~ n veov~ a r y_A-cc. o u.44; n ~ZD ;reek .1. . . .,.                               f,               par y e. he,- , .

9 . The alleged illegal activity took place at                                          7eex no C'vu a 7




                                          .
10 .          A.                ~              have filed a charge with the Equal Employment Opportunity
                                              Commission regarding defendant(s) . (I have attached a
                                              copy of my charge(s) filed with the Equal Employment
                                              Opportunity Commission , which are incorporated into th is
                                              complaint.

              B.                               have not filed a cha rge .


11 .          A.                              I received a Notice of R i ght-to-Sue letter from the Equal
                                              Employment Opportun ity Commission on .2-8-d~
                                              (date) . (I have attached a copy of the Notice of R ight-to-Sue
                                              which is i ncorporated into this complaint .)

              B.                               have not received a Notice of Right-to-Sue letter from the
                                              Equal Employment Opportun ity Commission .


12 . State what rel ief you are seeking from the Court. If you are seeking a monetary
      award (back pay or damages), state the amount you are seeking. If you are
      seeking inj unctive relief (an order by the Court) issued against the defendant(s)
      summarize what should be in the order.


                                                                       -4-
      Case 1:06-cv-01086-MHS Document 1 Filed 05/05/06 Page 5 of 12




           S       .~       XQ rnave~                       va,'/Q 6/e           h e,-
                            C rrc or '              Z-a ;
        ~ s       ~e                5. ~:       irQt s,


 ,.~e o ,,j the-
ON See, f q og~) I ouJ u p er,~p: t /-d :74 .~clra                           Ale .;l~v~v
                             Aarl~C 7~sff. apzl 0,a .v
 .n~1 dLt C la li ~i ca f~ ~ ~'~v m .~'IS, e,(J~S ~or~ (~ ~oW f- ~-h e ~a ~~ /st l
                                                                             :,Jan d
 Jvt 0 d ~ C o r,~ .+-~ rn f c9 .v rn y Z- aoc f Ae r rarsr, a •JC e 2r Jt c         50 M e-
 o~-A er i ss Q?s abOu4- yn y rc ~u .-.l' !-o ,Nap~r~          .il~,  LG,
 vN   ~-ss~rrr
 - Jr ~'h{ o T c c~au o~                                j2 .erEv f.r~a A ct ^f vf -e ~
                                                     rcl' L a ., d     J-e-~ f~o5~l~r & v u


 n_td7, Since- 5, AtA had Pe~QrnJ hae .K-

                                               a - p~aie r ~l        ~.~~ f ~,ci~ any




 P0,54 Vi dey'r

C2iv /-/-//-/) <          .L/4. /lip :                Ay. ~)-?sAv^/ a rr Du"S ~
                                         A,o.erur /lam °L-


~n QS ti'D~ ! ` C      c ~f i y-f   QN !^e ~ .daNS    - -Pro rn N~ S< ~ /Vl5 dn/,

vN   4-/j-d6- a O tom. 5 ~e v {rte 1       Cr -~•n o rs ~-v ~o Ila i- J
              e ' f u n/ i-v f e yr eiv h -e,- Le r lcvr rna Nc°     t va l N l. o,v Pal,




                                                                                               5j~ i
     Case 1:06-cv-01086-MHS Document 1 Filed 05/05/06 Page 6 of 12




                                                          C oti¢ =r :- en ,
      r~ r              ~~ ~UrS ul                        C       -t), a14'             C 1' C        rP
                        ~ ttnm ~ ~~ Cl~
                                            P,                                     ' G A1 Q/?
                                                                                   T-          C
                          /


                                                                                               S Ia ~ e
                    I   I 1 A/'PPm e                              e C ~~           a~    ~t +be            S f "ITe q
                                                                  -e f "
                        a~ Shy rl I /FN,3 f




   5 e.           7-          `? -e     ha d 6      !`e ~~-+r v     e     a   )er ill   /fit   Z L a1v

 IAIp4~n.N hto^ rrs ~o.~s~ G,u ema :1                                                    s,4,o ,'--



                  ~e               ctnd                        Q 1rem r.~t" ock•~r ruts o•~
              o ~h4 L,, 2 3- 1'~,., Fd M e ` cl 3 r" rH~n-t~ anal   -e le e, sc .~
                        e ; d e-A -e- Sa far ' 4 .c,-e,!2 e.    ed- A,
                                                               Ae- da C, a,.,' e',+,% -T- Ld

                          T`+'1 'e l~Cl S 'e o        CO h'l      14 l/YP o' Ot   fqR     ieZ f , a   1-r' G~!v

                                           L / d u d Tra                        G f /I oral .,,(`awNs-e7- j
              en! d B a t!; e-       6U ~wta~ ~ .        AP-e,- Oe-           C~m!}IL1 r nT           7-




                                             Gt n       k.-       u rS ~..     Do d a                      P 1-e -,c-<-
Cr_ Z ~      h e 5~a ~e                     -41 6re?,Ole-
               A4-<. h(e                    ~VerG~c-e ~aeKa a~,~„
          Case 1:06-cv-01086-MHS Document 1 Filed 05/05/06 Page 7 of 12




                                            i1 ~ ! h                       >r~    1-e

                         s ai d ~ ~ U S
 r. 0/+ t!- C Cgnl C e-                   e tn a ;                 `                                         flN ~ ~`j St

  •-f-                                           CI 4 S Q ('_ b I +/             fSf .             a ~~~ nl rtr.~Js u ~ l.~ ~ S
 Cited,              l yf   ,-       QTT n  -e       -e r   / 'e   4rrr             ~~' ~           l'l~i    KPr 'b         4nG~
                                                                                                                                   ~'
  Ut'4- 0d, a l + Gr D a nJ ~R P e .r                                             Nd                         5P       ~d
 $2,a/1- ; C r           ~"~         '; ~- l~               n                e-         -C   ca t .f 5 1!'   $   C'   o e- t ve-d
 a f5                    v            w7              n      e     NG dl                u ~                                 L   d c7 G StI c~~

 CAE Sc -e e ~o 4 l K ~-o m e-                                                                                   f
                                                            f      ;~ 6    leL !, -4 ,S
                                                                   trL crJa 5
          LJ 1 e. ... a,, d 1- C~ S S it en o -d 1 t Olt S    c a , (jb t La t m O ,A4 / ; e d
                                                                   ' ~y
Lar a i+J       I -r. 1 `b e •t `31& F-i NQ ,j C i A..I A NQf~ S ~       Ae ,r , Onj
i,o ac, A .11-ed Qndt Upda~~d i .~ ~ti ~ susferrm ~nl ~.Z 3/1

e) /d




                                                                                                                                        S




    -,7    i
          , cr T .   i   u u     j                                                                      Lfu                             /oS
    er     Wo .-KerS                 C,                                                                                a /1
    i e el , l IYtn j- Q ,                                                                                            I,. leAS e-




                                                                                                                                         ~rv
      Case 1:06-cv-01086-MHS Document 1 Filed 05/05/06 Page 8 of 12




    r                    7 ~ Il ~            r      L C Ar~   DnJ ~ I l
                                                                          q         14 er'
                                                                                 ClQI7
                                                                                         _

           r f f•                   r r,-~       ~ 17 O (p t~i~O C+'q
                                                                   ~ .v lljo-~~
                                                                             i/1.01 .
                                                                                   --
           t             >      ~P               2.rJ06               e
 66
           77d 71_
                                    iv                 r          r1 l         de Gl /-k e
                                       to o r             a a l               lid   54.E 1,
        e 5'I'U n1 N U r!', e                C            ~n f-c 4              c ,e ' al •v

               id A S~ {r          e R       -eAd ; ,v   r? Yer           e h~l a '/
                         ~v r, ~ /   / ~v t.)or l4 i krn rv~ .~~l, a ~~r l~ v~




X111 Q S C~n~ .L I"~ ddl f (r„~~l~J~r/~ ~ Peru ~~Qu r/7 ~~5f'r t sS
   Case 1:06-cv-01086-MHS Document 1 Filed 05/05/06 Page 9 of 12



~n r ~~ v' ~ .LJct rrr a t 5 ~" b e c a u 5 e d



                      I I Q r~i SS   f e/7
                                      '1 '          Vi 1
                                                           S   C , / ,rYt ~ / ~CI f~C~v
                                                                                            ae      f 1 fl1
                                                                                                              I S
                                                                                                              lr    ,




                                        r•-
     rI               ;N                                         es      and obclass; r ca 4'e,~ .



      Date                                                          Signature Signature of Plaintiff


                                                      Address : ,5                       C7/d-71d

                                                          + ~!--
                                                       Dz!,4H4,thi,
                                                     ~&, ~ q
                                                     Telephone :                                        d /    R/




                                              -5-
                                   Case 1:06-cv-01086-MHS Document 1 Filed 05/05/06 Page 10 of 12
EEOC Form 5 (5101 ).


                       CHARGE OF DISCRIMINATION                                                             Charge Presented To :                     Agency(ies) Charge No(s):
           This form is affected by the Privacy Act of 1974 . See enclosed Privacy Act                                    FEPA
                  Statement and other information before completing this form .                                1-1
                                                                                                                          EEOC                            410-2006-01446
                                                                                                                                                                        and EEOC
                            J LL                                            State or local Agency, if any
Name (Indicate Mr., Ms. , Mm)                                                                                                     Home Phone No . (Incl Area Code)        Date of Birth

Ms . Carla R . Keith                                                                                                                    1 , 404} 346-8981              09-04-1961
Street                        Address                              City, State and ZIP Code

5594 Gram ercy Drive, Atlanta, GA 30349
Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That I Believe
D i scriminated Against Me or Others . (!f more than two, list under PARTICULARS below.)
Name                                                                                      No. Employees, Members                                             Phone No. (include Area Code)

GENERAL ELECTRIC SUPPLY COMPANY                                                                                                         101 -200 (770) 437-2261
Street Address                                                                       City, State and ZIP Code

400 Technology Court, S.E ., Suite R, Sm ma, GA 30082
Name                                                                                       No. Employees, Members Phone No . (lnplude Area Code)


Street Address                                                                       City, State and ZIP Code


DISCRIMINATION BASED ON (Check appropriate box(es) .)                  GATE(S)                          DISCRIMINATION TOOK PLACE
                                                                                                                 Earliest Latest
        RACE            ~   COLOR          ~     SEX               F1 RELIGION                ~ NATIONAL ORIGIN
                                                                                                                                          07 -28 - 2005 04-11 -2006
              RETALIATION            ~      AGE            ~ DISABILITY
                                                                                    El      OTHER (Specify below)

                                                                                                                                                   CONTINUING ACTION

THE PARTICULARS ARE (ff additionalpaper is needed, attach extra sheet(s)) :



       I. I was h ired by the above-named employer since March 20, 2000, as a Supply Support Team
          Leader. On July 28, 2045, f filed a E E OC compla int, # 170-2005-03607 and ev er s ince, I have been
          constantly harassed . I have been denied d isabil ity and FMLA . I was laid-off on April 71, 2006.

     If . David M . Posternak, Human Resources Manager, stated that my position was elim i nated .

    111. I believe that I have been retal iated against for rr~ 4                                                                       ~,s EEOC charge, in v i olation
           of Title VII of the Civil R ights Act of 1964, as a ~~de'd .                                          d'      M e I of-tae Americans with Disabilities
           Act of 1990 .
                                                                                                       APR      `~ ~ )   '2 l.i ii t,


                                                                                                                  ATDO

 want thi s charge filed with both the E EOC and the State or local Agency, if any. I will NOTARY - When necessary for State and Local Agency Requirements
advise the agencies if I change my address or phone number and I will cooperate fully
with them in the processing of my charge in accordance with their procedures .
                                                                                                  swear or affirm that l have read the above charge and that it is true to
I declare under penalty of perjury that the above is true and correct .                          the best of my knowledge, information and bel ief.
                                                                                                  SIGNATURE OF COMPLAINANT


                                                                                                  SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
    A pr ZO ~ 2006                     ~~                      r        I                         (month, day, year)
            Date                                 Charging Party Signature
                              Case 1:06-cv-01086-MHS Document 1 Filed 05/05/06 Page 11 of 12
 EE O C Form 5


                     CHARGE OF DISCRIMINATION                                                               Ch a rge Presented To-,                 Agency(ies) Charge No(s) :                     ~'
            This form is affected by the Privacy Act of 1974 . See enclosed Privacy Act                                                                                                             I
                   Statement and other information before completing this form .                                 0     F E PA
                                                                                                                        E E OC                           110-2005-03607                           `:

                                                                                                                                                                            and EEOC
                                                                               State or local Agency, if
 Name (indicate Mr., Ms., Mrs.)                                                                                               Home Phone No . (!nc! A rea Code)               Date of Birth
 Ms. C arla R . Keith                                                                                                              (404) 346 -8981 09 -04 -1961
 Street                   Address                                                  City, State and Z I P Co d e
 5594 Gramerc y Drive                                                                   Atlanta, GA 30349
 N amed is th e E mpl oyer , Labor Organ izati on, Em p loyme nt Agency, A pprent ice ship C ommittee , or State or Loc a f Go v ernmen t Agency Th a t I Believe
 Discriminated Ag a inst Me or Others . (!f mons than two, list under PARTICULARS below .)
 Name                                                                                                                         No . Employees, Mem bers       ' Phone No . (include Area Code)
 GENERAL ELECTRIC SUPPLY COMPANY                                                                                                    15-100 I (770) 4 37-2 28 1
 Street Address                                                                         City. Sta te and ZIP Code
400 Tech nology Court, S . E ., Suite R                                                 Smyrna, GA 30082
 Name                                                                                                                         No . E mpinye as, M embers I     Phone No . (Include A r ea Code)


 Street Address                                                                         Ci ty, State an d ZIP Code


DISCRIMINATION BASED ON (Check appropriate boxes} .)                                                                              DATE(S) DISCR I MINATION TOOK PLACE
                                                                                                                                          Earliest La test
         RA CE       ~ COLOR                    ~ SEX                ~ REL I GIO N                ~ NATIONAL ORIGIN
  FRI
                                                                                                                                      04-01 -2005                       07-01 -2006
                 RETALIATION           ~ AG E
                                                            F-1    DISAB IL IT Y
                                                                                       7
                                                                                               OTHER (Specify below)
                                                                                                                                          FICONTINUING ACTION

THE PARTICULARS ARE (if aoddional paper is needed, attach extra sheet(s)) :



   am currently employed by the above employer i n the pos ition of Supplier Support Team Leade r. I have
 been e mployed s ince Ma rch 20, 2000. Since my employment , I have been subjected to harass m e n t by
 my im mediate supervisor, Sandra Weston . On Apri l 1 , 2005 , I was to receive back pay because of an
 intern al compla int I made and instea d I was told that I had to sign the back pay documents in order to
 receive a raise . When t re c ei ved the documents, they were marked severance pay document s. I was
 also en couraged by Ms . Weston not to apply for a job that I was qual ified for. Instead, a Wh ite female                                                                                            ~
 was selected. (was told that my tran sfer to Georgia wou ld be a lateral move for me . On May 10 , 2005
      an internal retaliat ion complaint w i th the CEO and Legal Department of my company to no avail . ,filed
 am the only Black employee under Ms . Weston ' s superv ision . Since that time, I have been subjected to
 dispa rate terms and cond ition s of emp loyment . As of July 1 , 2005 , all of my wo rk a ssignments have
 been cancelled and Ms . Weston has instructed me to return to the Illi nois Office for no apparent reason .
   am bei n g t reated differently from s imilarly situated White e mployees.


  bel ieve t have b een dis cri mina ted against be cau se of my ra ce ( Black ) and retaliated against for
 opposing acts in violation of Title VII of the Civ i l R ights Act of 1964, as amended .

 w ant this charge fi led with both th e EEOC a nd the State or local Age ncy, if any . I wi ll
advise the agencies i f E cha nge my add ress or p hone number and I wi ll coop erate fully
w i th the m i n th e pro cessing of my ch a rge in acc orda nce w ith their proced u res .
                                                                                                     swear or affi rm that I have re ad the abo v e ch rge a n d tha t it is true to
                               perju ry th at the above is t rue                                    the best of my 7~q~+{~~i edpe On}~ion and beii f.
                                                                                                    SIGNATURE OF pMP L~1 1 NAfVT


                                                                                                    SUBSCRIBED                    ~"E        THIS

            Date                 ~                 Charging Party Signatu re
                             Case 1:06-cv-01086-MHS Document 1 Filed 05/05/06 Page 12 of 12

E EO C Form Y61- B [319B ~                 U . S . EQ UA L EMPLOY MEN T OPPORTUNITY COMMISSION

                                           NOTICE OF RIGHT TO SUE (ISSUED ON REQUEST)
To :     Carl a R . Keith                                                                  From : Atlanta District ice -410
         5554• Gram ercy Drive                                                                     100 Alabama Street, S .W.
         Atlanta, GA 30349                                                                         Suite 4R30
                                                                                                   Atlanta, GA 30303




                     On behalf of person (s) aggrieved whose identity is
        E]           CONFIDENTIAL (29 CFR § 1601 .7(a))

Charge No .                                    EEOC           Representative                            Telephone                   No .

                                               Norman Reid,
110-2006-403607                                Investigator                                                           ( 40 4) 582-6863
                                                                                         (See also the additional information enclosed with this .fionn.
N OTICE TO THE PERSON AGGRI EVED :

Title VII of the Civil Rights Act of 1964 and/or the Americans with Disabilities Act (ADA) : This is your Notice of Right to Sue, issued
under Title VII and/or the ADA based on the above-numbered charge . It has been issued at your request- Your lawsuit under Title VII or
the ADA must be filed in federal or state court WI1"HIN 90 DAYS of your receipt of this Notice or your right to sue based on this charge
will be lost . (The time limit for filing suit based on a state claim may be different .)

                   M ore than 180 days have passed since the filing of this c h arge.
        0
                   Less than 180 days have passed since the fil i ng of this charge , but 1 have determined that it is unlikely that the EE C will
                   be able to corpplete its administrative processing w i thi n 180 days from the filing of the charge .

        El         The EEOC is 7 territi nati ng its processing of this charge .

        a          The EEOC wi ll continue to process this charge .

Age Discrimination i n Employment Act {AREA} : You may sue under the AD EA at any time from 60 days after the charge was filed
unt il 90 days after you receive notice that we have completed act ion on the charge . In this regard, the paragraph marked below
applies to your case :

                   The EEOC i s closing your case . Therefore , your lawsuit under the ADEA must be flatd i n federal or state court WITHIN
                   90 DAYS of your receipt of this Noti ce . Otherwise , your right to sue based on the above-numbered charge will be lost .


        EJ         The EEOC i s continuing its handling of your ADEA case . However, if 60 days have passed since the filing of your charge ,
                   you may file suit in federal or state court under the AREA at this time .

Equal Pay Act (EPA) : You already have the right to sue under the EPA (filing an EEOC charge is not required . ) EPA suits must be brought
i n federal or state court within 2 years (3 years for willful violations) of the alleged EPA underpayment . This means that backpay due for
any violations that occurred more than 2 y ears ors before you file su it may not be collectible .

If you file su it based on this charge, please se d a copy f your court complaint to th is office.

                                                                         ~ n behalf of ha Commissio
                                                                     f



Enclosure(s)                                                     Bemice Wi lii ams-K i rnbrough,                          (Date Mailed)
                                                                         D irector


cc:       Bradford Greene
          Human Resource Manager
          GENERAL ELECTRIC SUPPLY C
          2235; Corporate Lane
          Nape rville , IL 60563
